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     Federal Defender
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     Assistant Federal Defender
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4    Tel: 916-498-5700/Fax 916-498-5710
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5
6    Attorney for Defendant
     JOSEPH D. RYAN
7
8                               IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                 )   Case No. 2:15-cr-00116-GEB
11                                              )
                       Plaintiff,               )   STIPULATION AND [PROPOSED] ORDER
12                                              )   TO CONTINUE SENTENCING HEARING &
               vs.                              )   BRIEFING SCHEDULE
13                                              )
      JOSEPH D. RYAN,                           )   Date: June 17, 2016
14                                              )   Time: 9:00 a.m.
                       Defendant.               )   Judge: Hon. Garland E. Burrell
15                                              )
                                                )
16
17           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting United States
18   Attorney, through, Michelle Rodriguez, Assistant United States Attorney, attorney for Plaintiff,
19   and Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren,
20   attorney for Joseph Ryan that the sentencing hearing, currently scheduled for June 17, 2016, be
21   continued to July 29, 2016 at 9:00 a.m. The parties further stipulate that the briefing schedule
22   be modified as follows:
23           Reply, or Statement of Non-Opposition:                      7/22/16
24           Judgment and Sentencing Date:                               7/29/16
25   This continuance is made at both parties’ request, to obtain additional information in preparation
26   of the parties’ Sentencing Memoranda and the sentencing hearing. Probation is aware of this
27   stipulation and has no objection.
28
     Stipulation to Continue                         -1-                             U.S. v Ryan, 15-cr-116
       Case 2:15-cr-00116-KJM Document 111 Filed 06/03/16 Page 2 of 3



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3                                       Respectfully submitted,
     Dated: June 2, 2016                HEATHER E. WILLIAMS
4                                       Federal Defender
5                                       /s/ Noa E. Oren
                                        NOA E. OREN
6                                       Assistant Federal Defender
                                        Attorneys for Joseph D. Ryan
7
     Dated: June 2, 2016
8                                       PHILLIP A. TALBERT
                                        Acting United States Attorney
9
                                        /s/ Michelle Rodriguez
10                                      MICHELLE RODRIGUEZ
                                        Assistant U.S. Attorney
11                                      Attorneys for Plaintiff
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     Stipulation to Continue              -2-                           U.S. v Ryan, 15-cr-116
       Case 2:15-cr-00116-KJM Document 111 Filed 06/03/16 Page 3 of 3



1                                                  ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefore, adopts the parties’ stipulation in its entirety as
4    its order. The Court orders the June 17, 2016 sentencing hearing continued to July 29, 2016 at
5    9:00 a.m. It is further ordered that any sentencing memoranda are now due on July 15, 2016 and
6    any replies are now due on July 22, 2016.
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     Dated: June 2, 2016
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     Stipulation to Continue                          -3-                              U.S. v Ryan, 15-cr-116
